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                     United States Bankruptcy Court
                    Northern District of California


In re:

BELINDA QUE CHUA,                             Case No. 12-33053 DM
                                              Chapter 11
          Debtor.
____________________/

         TENTATIVELY APPROVED COMBINED PLAN OF REORGANIZATION
                       AND DISCLOSURE STATEMENT
                            (March 5, 2014)

INTRODUCTION

     This is Debtor’s Combined Chapter 11 Plan of Reorganization
and Disclosure Statement (the Plan). The Plan identifies each
known creditor by name and describes how each claim will be
treated if the Plan is confirmed. This Plan has been amended to
reclassify the claim of secured creditor Wells Fargo Bank from
Class 1B to Class 1C and treated as unimpaired. This amendment
was made for the purpose of administrative convenience for both
the secured creditor and the debtor. This Plan was also amended
to show the correct pre-petition and post-petition arrearage
owing to the secured claim of the Bank of New York Mellon which
is now a Class 1B claim. Exhibit 1 of this Plan was also amended
to reflect more current market values of the debtor’s real
properties and to reflect costs of sale and capital gain
consequences. These changes did not change the resulting
liquidation value under the prior plan.

     Part 1 contains the treatment of creditors with secured
claims; Part 2 contains the treatment of general unsecured
creditors: a 20% recovery of allowed claims in monthly payments
over 60 months. Taxes and other priority claims would be paid in

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full, as shown in Part 3.

     Most creditors (those in impaired classes) are entitled to
vote on confirmation of the Plan. Completed ballots must be
received by Debtor’s counsel, and objections to confirmation must
be filed and served, no later than January 23, 2014. The court
will hold a hearing on confirmation of the Plan on January 30,
2014 at 10:30 a.m.

     Attached to the Plan are exhibits containing financial
information that may help you decide how to vote and whether to
object to confirmation. Exhibit 1 includes background
information regarding Debtor and the events that led to the
filing of the bankruptcy petition and describes significant
events that have occurred during this Chapter 11 case. Exhibit
2 contains an analysis of how much creditors would likely
receive in a Chapter 7 liquidation. Exhibit 3 shows Debtor’s
monthly income and expenses. Exhibit 4 describes how much
Debtor is required to pay on the effective date of the plan.
Exhibit 5 shows Debtor’s monthly income and expenses related to
each investment property.

     Whether the Plan is confirmed is subject to complex legal
rules that cannot be fully described here. You are strongly
encouraged to read the Plan carefully and to consult an attorney
to help you determine how to vote and whether to object to
confirmation of the Plan.

     If the Plan is confirmed, the payments promised in the Plan
constitute new contractual obligations. Creditors may not seize
their collateral or enforce their pre-confirmation debts so long
as Debtor performs all obligations under the Plan. If Debtor
defaults in performing Plan obligations, any creditor can file a
motion to have the case dismissed or converted to a Chapter 7
liquidation, or enforce their non-bankruptcy rights. Debtor
will be discharged from all pre-confirmation debts (with certain
exceptions) if Debtor makes all Plan payments. Enforcement of
the Plan, discharge of the Debtor, and creditors’ remedies if
Debtor defaults are described in detail in Parts 5 and 6 of the
Plan.




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PART 1: TREATMENT OF SECURED CREDITORS

Debtor to Make Regular Payments and Pay Arrears Over Time.

 Class                  1A                      1B

 Name of Creditor       One West Bank FSB       The Bank of New
                                                York Mellon
 Collateral             67 Camelot              28 Heath Court
                        Daly City, CA           Daly City, CA

 Regular Monthly        $2,376.42               $3,512.09 (amount
 Payment                                        may vary
                                                depending on
                                                principal,
                                                interest and/or
                                                escrow balance
                                                adjustments)
 Estimated Arrears      2,724.16                $113,654.42
                                                Represents Pre
                                                and Post-Petition
                                                Arrears
 Interest Rate on       0.00%                   0.00
 Arrears
 Monthly Payment on     $908.05                 $947.00
 Arrears


     Debtor will pay the entire amount contractually due by
making all post-confirmation regular monthly payments, and by
paying all pre-confirmation arrears, including, but not limited
to, post petition advances, attorneys fees and late charges, as
follows: Class 1A arrearages will be paid within 90 days of the
effective date of the plan; Class 1B will be paid 120 equal
monthly payments, without interest, due the 15th day of the
month, starting April, 2014. To the extent arrears are
determined to be other than as shown above, appropriate
adjustments will be made in the number of payments. Except as
set forth above, Creditors in these classes shall retain their
lien interest in the collateral and their contractual rights
until paid in full.

     Creditors in these classes may not repossess or dispose of
their collateral so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). These secured claims are
impaired and entitled to vote on confirmation of the Plan.



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      Creditors’ Rights Remain Unchanged.

Class            Name of Creditor                               Description of Collateral


 1C               Wells Fargo Bank                                  996 Gellert, Daly City, CA




            These creditors’ legal, equitable, and contractual rights
      remain unchanged with respect to the above collateral. The
      confirmation order will constitute an order for relief from
      stay. Creditors in these classes shall retain their interest in
      the collateral until paid in full. These secured claims are not
      impaired and are not entitled to vote on confirmation of the
      Plan.


      Debtor to Adjust Terms and Pay Amount Due in Full Over Time.

       Class    Name of           Collateral     Amount        Interest      Monthly     Term
                Creditor                         Due           Rate          Payment
       1D       Internal          Debtor’s       $7,255.93     3%            130.38      60
                Revenue           interest in
                Service           real and
                                  personal
                                  property




           Debtor will pay the entire amount contractually due with
      interest through 60 equal monthly payments, due the 15th day of
      the month, starting February 2014 on the above-secured claims.
      Creditors in these classes shall retain their interest in the
      collateral until Debtor makes all payments on the allowed
      secured claim specified in the Plan.

           Creditors in these classes may not repossess or dispose of
      their collateral so long as Debtor is not in material default
      under the Plan (defined in Part 6(c)). These secured claims are
      impaired and are entitled to vote on confirmation of the Plan.

           Payments to claimants in these classes may continue past
      the date Debtor obtains a discharge. The claimants’ rights
      against its collateral shall not be affected by the entry of
      discharge, but shall continue to be governed by the terms of
      Individual Chapter 11                                                                     4
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this Plan.



PART 2: TREATMENT OF GENERAL UNSECURED CREDITORS

Class 2(B).      General Unsecured Claims.
 Name of Creditor     Amount of Claim     Disputed        Amount to        Monthly
                                          Y/N             be Paid          Pymt
 Internal Revenue     $40,544.10          N               $8,109.00        $135.00
 Service
 Franchise Tax        $ 1,397.65          N               $   280.00       $ 5.00
 Board
 Discover Bank        $12,089.31          N               $2,418.00        $40.00
 Cheswold LLC         $1,887.19           N               $   378.00       $ 7.00
 LVNV                 $3,489.70           N               $   698.00       $12.00
 American             $4,114.64           N               $   823.00       $14.00
 InfoSource
 FIA Card Services    $15,841.60          N               $3,169.00        $53.00
 FIA Card Services    $21,746.97          N               $4,359.00        $73.00
 Azurea 1 LLC         $11,547.12          N               $2,310.00        $39.00
 Citibank             $915.00             N               $   183.00       $ 3.00
 Main Street          $511,345.58         N               $1,235.00        $19.00
 Acquisition
 American Express     $5,158.81           N               $1,032.00        $18.00
 Portfolio Recovery   $13,408.56          N               $2,682.00        $45.00
 PYOD, LLC            $10,811.75          N               $2,163.00        $36.00




 TOTAL                155,754.86                          $31,151.00       $519.00


     Allowed claims of general unsecured creditors shall be paid
as follows:

         Percent Plan. Creditors will receive 20% percent of their
         allowed claim in 60 equal monthly installments, due on the
         15th day of the month, starting February 2014.

     Creditors in this class may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). This class is impaired
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and is entitled to vote on confirmation of the Plan. Debtor has
indicated above whether a particular claim is disputed.


PART 3: TREATMENT OF PRIORITY AND ADMINISTRATIVE CLAIMS
(a) Professional Fees.

     Debtor will pay the following professional fees in full on
the Effective Date, or upon approval by the court, whichever is
later.

 Name and Role of Professional                             Estimated Amount
 William F. McLaughlin                                     $5,000.00


     Professionals may not take collection action against Debtor
so long as Debtor is not in material default under the Plan
(defined in Part 6(c)). Estate professionals are not entitled
to vote on confirmation of the Plan.

(b) Other Administrative Claims. Debtor will pay other allowed
claims entitled to priority under section 503(b) in full on the
Effective Date; except expenses incurred in the ordinary course
of Debtor’s business or financial affairs, which shall be paid
when normally due and payable (these creditors are not listed
below). All fees payable to the United States Trustee as of
confirmation will be paid on the Effective Date; post-
confirmation fees to the United States Trustee will be paid when
due.

     Administrative Creditors may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). Administrative claimants
are not entitled to vote on confirmation of the Plan.

 Name of Administrative Creditor          Estimated Amount of Claim

 NONE



(c) Tax Claims. Debtor will pay allowed claims entitled to
priority under section 507(a)(8) in full over time with interest
(at the non-bankruptcy statutory interest rate) in equal
amortizing payments in accordance with section 511 of the
Bankruptcy Code. Payments will be made [monthly/quarterly], due
on the [number] day of the [month/quarter], starting [month &
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year]. To the extent amounts owed are determined to be other
than as shown below, appropriate adjustments will be made in the
number of payments.

     Priority tax creditors may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). Priority tax claimants
are not entitled to vote on confirmation of the Plan.
 Name of Creditor            Estimated         Statutory         Payment         Number of
                             Amount of         Interest          Amount          Payments
                             Claim             Rate
 Internal Revenue Service    $20,963.85        3%                503.73          44
 Franchise Tax Board         $4,418.74         3%                106.18          44



PART 4:   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
(a) Executory Contracts/Unexpired Leases Assumed. Debtor
assumes the following executory contracts and/or unexpired
leases upon confirmation of this Plan and will perform all pre-
confirmation and post-confirmation obligations thereunder.
Post-confirmation obligations will be paid as they come due.
Pre-confirmation arrears will be paid [select one] [in full on
the Effective Date] in [number] equal [monthly/quarterly]
installments beginning on the first day of [month & year].

 Name of         Description of      Estimated             Installment     Number of
 Counter-        Contract/Lease      Total Cure            Amount          Installments
 Party                               Amount
 NONE



(b) Executory Contracts/Unexpired Leases Rejected. Debtor
rejects the following executory contracts and/or unexpired
leases and surrenders any interest in the affected property, and
allows the affected creditor to obtain possession and dispose of
its property, without further order of the court. Claims
arising from rejection of executory contracts have been included
in Class 2 (general unsecured claims).

 Name of Counter-Party                     Description of Contract/Lease
 None




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(c) Executory contracts and unexpired leases not specifically
assumed or rejected above will be deemed assumed.


PART 5: DISCHARGE AND OTHER EFFECTS OF CONFIRMATION
(a) Discharge. Debtor shall not receive a discharge of debts
until Debtor makes all payments due under the Plan or the court
grants a hardship discharge.

(b) Vesting of Property. On the Effective Date, all property
of the estate and interests of the Debtor will vest in the
reorganized Debtor pursuant to § 1141(b) of the Bankruptcy Code
free and clear of all claims and interests except as provided in
this Plan, subject to revesting upon conversion to Chapter 7 as
provided in Part 6(f) below.

(c) Plan Creates New Obligations. Except as provided in
Part 6(d) and (e), the obligations to creditors that Debtor
undertakes in the confirmed Plan replace those obligations to
creditors that existed prior to the Effective Date of the Plan.
Debtor’s obligations under the confirmed Plan constitute binding
contractual promises that, if not satisfied through performance
of the Plan, create a basis for an action for breach of contract
under California law. To the extent a creditor retains a lien
under the Plan, that creditor retains all rights provided by
such lien under applicable non-Bankruptcy law.


PART 6: REMEDIES IF DEBTOR DEFAULTS IN PERFORMING THE PLAN
(a) Creditor Action Restrained. The confirmed Plan is binding
on every creditor whose claims are provided for in the Plan.
Therefore, even though the automatic stay terminates on the
Effective Date with respect to secured claims, no creditor may
take any action to enforce either the pre-confirmation
obligation or the obligation due under the Plan, so long as
Debtor is not in material default under the Plan, except as
provided in Part 6(e) below.

(b) Obligations to Each Class Separate. Debtor’s obligations
under the Plan are separate with respect to each class of
creditors. Default in performance of an obligation due to
members of one class shall not by itself constitute a default
with respect to members of other classes. For purposes of this
Part 6, the holders of all administrative claims shall be
considered to be a single class, the holders of all priority
claims shall be considered to be a single class, and each non-
debtor party to an assumed executory contract or lease shall be
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considered to be a separate class.

(c) Material Default Defined. If Debtor fails to make any
payment, or to perform any other obligation required under the
Plan, for more than 10 days after the time specified in the Plan
for such payment or other performance, any member of a class
affected by the default may serve upon Debtor and Debtor’s
attorney (if any) a written notice of Debtor’s default. If
Debtor fails within 30 days after the date of service of the
notice of default either: (i) to cure the default; (ii) to
obtain from the court an extension of time to cure the default;
or (iii) to obtain from the court a determination that no
default occurred, then Debtor is in Material Default under the
Plan to all the members of the affected class.

(d) Remedies Upon Material Default. Upon Material Default, any
member of a class affected by the default: (i) may file and
serve a motion to dismiss the case or to convert the case to
Chapter 7; or (ii) without further order of the court has relief
from stay to the extent necessary, and may pursue its lawful
remedies to enforce and collect Debtor’s pre-confirmation
obligations.

(e) Claims not Affected by Plan. Upon confirmation of the
Plan, and subject to Part 5(c), any creditor whose claims are
left unimpaired under the Plan may, notwithstanding paragraphs
(a), (b), (c), and (d) above, immediately exercise all of its
contractual, legal, and equitable rights, except rights based on
default of the type that need not be cured under section
1124(2)(A) and (D).

(f) Effect of Conversion to Chapter 7. If the case is at any
time converted to one under Chapter 7, property of the Debtor
shall vest in the Chapter 7 bankruptcy estate to the same extent
provided for in section 348(f) of the Bankruptcy Code upon the
conversion of a case from Chapter 13 to Chapter 7.

(g) Retention of Jurisdiction. The bankruptcy court may
exercise jurisdiction over proceedings concerning: (i) whether
Debtor is in Material Default of any Plan obligation; (ii)
whether the time for performing any Plan obligation should be
extended; (iii) adversary proceedings and contested matters
pending as of the Effective Date or specifically contemplated in
this Plan to be filed in this court (see Part 7(f)); (iv)
whether the case should be dismissed or converted to one under
Chapter 7; (v) any objections to claims; (vi) compromises of
controversies under Fed. R. Bankr. Pro. 9019; (vii) compensation
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of professionals; and (viii) other questions regarding the
interpretation and enforcement of the Plan.


PART 7: GENERAL PROVISIONS
(a) Effective Date of Plan. The Effective Date of the Plan is
the fifteenth day following the date of the entry of the order
of confirmation, if no notice of appeal from that order has been
filed. If a notice of appeal has been filed, Debtor may waive
the finality requirement and put the Plan into effect, unless
the order confirming the Plan has been stayed. If a stay of the
confirmation order has been issued, the Effective Date will be
the first day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation
order has not been vacated.

(b) Disputed Claim Reserve. Debtor will create a reserve for
disputed claims. Each time Debtor makes a distribution to the
holders of allowed claims, Debtor will place into a reserve the
amount that would have been distributed to the holders of
disputed claims if such claims had been allowed in the full
amount claimed. If a disputed claim becomes an allowed claim,
Debtor shall immediately distribute to the claimant from the
reserve an amount equal to all distributions due to date under
the plan calculated using the amount of the allowed claim. Any
funds no longer needed in reserve shall be [select one]
[returned to Debtor] [distributed pro-rata among allowed claims
in this class].

(c) Cramdown. Pursuant to section 1129(b) of the Bankruptcy
Code, Debtor reserves the right to seek confirmation of the Plan
despite the rejection of the Plan by one or more classes of
creditors.

(d) Severability. If any provision in the Plan is determined
to be unenforceable, the determination will in no way limit or
affect the enforceability and operative effect of any other
provision of the Plan.

(e) Governing Law. Except to the extent a federal rule of
decision or procedure applies, the laws of the State of
California govern the Plan.

(f)   Lawsuits.

     Debtor believes that causes of action for fraudulent
transfers, voidable preferences, or other claims for relief
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exist against the following parties:

        Party        Creditor       Nature of        Amount of          Will Debtor
                        Y/N           Claim            Claim             Prosecute
                                                                          Action?
                                                                            Y/N
 NONE



(g) Notices. Any notice to the Debtor shall be in writing, and
will be deemed to have been given three days after the date sent
by first-class mail, postage prepaid and addressed as follows:

(h) Post-Confirmation United States Trustee Fees. Following
confirmation, Debtor shall continue to pay quarterly fees to the
United States Trustee to the extent, and in the amounts,
required by 28 U.S.C. § 1930(a)(6). So long as Debtor is
required to make these payments, Debtor shall file with the
court quarterly reports in the form specified by the United
States Trustee for that purpose.

(i) Deadline for § 1111(b) Election. Creditors with an allowed
secured claim can make a timely election under section 1111(b)
no later than 14 days before the first date set for the hearing
on confirmation of the Plan.

Dated: March 4, 2014


                                            /s/ Belinda Chua
                                            Debtor


                                            /s/ William F. McLaughlin
                                            Attorney for Debtor




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Attorney Certification

     I, William F. McLaughlin, am legal counsel for the Debtor(s)
in the above-captioned case and hereby certify the following: (i)
the foregoing plan is a true and correct copy of the Individual
Chapter 11 Combined Plan and Disclosure Statement promulgated by
the Northern District of California, San Francisco Division, on
July 30, 2012 (the “Standard-Form Plan”); and (ii) except as
specified below, there have been no alterations or modifications
to any provision of the Standard-Form Plan.

     The following provisions of the Standard-Form Plan have been
altered or otherwise modified.

P1, Inserted the following language:

     This Plan has been amended to reclassify the claim of
secured creditor Wells Fargo Bank from Class 1B to Class 1C and
treated as unimpaired. This amendment was made for the purpose
of administrative convenience for both the secured creditor and
the debtor. This Plan was also amended to show the correct pre-
petition and post-petition arrearage owing to the secured claim
of the Bank of New York Mellon which is now a Class 1B claim.
Exhibit 1 of this Plan was also amended to reflect more current
market values of the debtor’s real properties and to reflect
costs of sale and capital gain consequences. These changes did
not change the resulting liquidation value under the prior plan.


P2, Paragraph 3: Deletes the following language: that replace the
Debtor’s pre-confirmation debts.

P3, Paragraph 1, is amended to read as follows:

“Debtor will pay the entire amount contractually due by making
all post-confirmation regular monthly payments, and by paying all
pre-confirmation arrears, including, but not limited to, post
petition advances, attorneys fees and late charges, without
interest as follows: Class 1A and 1B prepetition arrearages will
be paid within 90 days of the effective date of the plan; Class
1C will be paid 120 equal monthly payments, without interest, due
the 15th day of the month, starting February 2014. To the extent
arrears are determined to be other than as shown above,
appropriate adjustments will be made in the number of payments.
Except as set forth above, Creditors in these classes shall
retain their lien interest in the collateral and their
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contractual rights until paid in full.”



     I declare that the foregoing is true and correct.                   Executed
this 6th day of March, 2014

                                            /s/ William F. McLaughlin

                                            Attorney for Debtor




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Exhibit 1 - Events That Led To Bankruptcy

      Debtor operates a Pilipino/Asian style restaurant and bakery

 in a strip mall location in South San Francisco.               The business

 is incorporated with four shareholders including the debtor.

 One other shareholder participates in the operation of the

 restaurant.      The other two shareholders are debtor’s sisters and

 are not active in the operation of the business.                 The

 restaurant operates 7 days a week from 7:00 a.m. to 7:00 pm or

 11:00 pm with debtor usually on-site during operating hours.

      Debtor is a member of the ABC Lim Investments LLC.                 This LLC

 was formed to manage debtor’s rental properties.               It has title

 interest in debtor’s estate and no known assets.               It was used to

 track rental income and expenses.

      Debtor’s financial difficulties stem from falling business

 sales in the operation of the restaurant during the recession

 coupled with a protracted rental default on the Heath Court

 property requiring commencement of an unlawful detainer action

 to remove the non-paying tenant. The tenant has been removed,

 the premises restored to habitability and re-rented.

      Debtor filed the instant case to stop a scheduled

 foreclosure sale of the Heath Court property and to obtain a

 breathing spell to reorganize her financial affairs and propose

 a plan of reorganization.




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Exhibit 2 - What Creditors Would Receive if the Case Were
Converted to a Chapter 7

Real Property #1: 67 Camelot, Daly City, CA
 Fair Market         Liens              Cost of    Resulting         Amt of           Net
    Value                                Sale      Income Tax       Exemption       Proceeds

 $628,000        1st One West       $37,680        No Capital   0.00            0.00
 (Jan 2014)      Bank FSB           (at 6%)        Gain;
                 $607,100
                                                   Basis
                                                   $722,000


Real Property #2:            996 Gellert, Daly City, CA
 Fair Market         Liens              Cost of    Resulting         Amt of           Net
    Value                                Sale      Income Tax       Exemption       Proceeds

 $671,000        1st Wells Fargo    $40,260        $142,930     None            0.00
                 $539,305                          at 35%
                                                   Combined
                                                   State &
                                                   Federal on
                                                   Gain of
                                                   $408,372


Real Property #3:            28 Heath Court, Daly City, CA
 Fair Market         Liens              Cost of    Resulting         Amt of           Net
    Value                                Sale      Income Tax       Exemption       Proceeds

 $732,000        1st The Bank of    n/a            n/a          None            0.00
                 New York
                 Mellon
                 $808,128.51




Personal Property:
           Description              Liquidation     Secured      Amt of               Net
                                       Value         Claim      Exemption           Proceeds
 Cash                               $5,429.00      $7,255.93    $ 5,429.00      $      0.00
                                                   (IRS lien
                                                   on
                                                   personal
                                                   property)
 Automobile #1 2008 Dodge           $4,654.00      0.00         $ 4,654.00             0.00
 Caravan (120,000 miles)
 Household Furnishings              $2,400.00                   $ 2,400.00             0.00
 Jewelry                            $     500.00                $      500.00          0.00
 Equipment


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 Stocks / Investments          $5,000.00     0.00                0.00      $5,000.00
 (25% interest in Manila
 Food Service, Inc. and
 ABC Lim Investments, LLC
 Other Personal Property       $63,668.00    $7,255.93     $56,452.00      $7,216.00
 (Cash Value Insurance,                      (IRS Lien
 IRA)                                        – see
                                             above.
 TOTAL                                                                     $12,216.00


 Net Proceeds of Real Property and Personal Property                       $12,216.00
 Recovery from Preferences / Fraudulent Conveyances              [ADD]           00.0
 Chapter 7 Administrative Claims                           [SUBTRACT]            0.00
 Chapter 11 Administrative Claims                          [SUBTRACT]       $5,000.00
 Priority Claims                                           [SUBTRACT]      $25,383.00
 Chapter 7 Trustee Fees                                    [SUBTRACT]      $ 1,972.00
 Chapter 7 Trustee’s Professionals                         [SUBTRACT]            none
 NET FUNDS AVAILABLE FOR DISTRIBUTION TO UNSECURED CREDITORS                     none


 Estimated Amount of Unsecured Claims                                      155,755.00
 Percent Distribution to Unsecured Creditors Under Proposed Plan                  20%
 Percent Distribution to Unsecured Creditors Under Liquidation                        0%
 Analysis



Exhibit 3 - Monthly Income and Expenses

 Income                                                                     Amount
 Gross Employment Income                                                   $3,500.00

 Gross Business Income                                                       $787.00
 [OTHER INCOME - DESCRIBE]                                                      0.00

 Positive Cash Flow on Investment Property (Exhibit 5, Line A)             $2,698.00
 A. Total Monthly Income                                                   $6,985.00


 Expenses                                                                   Amount
 Includes Plan Payments on Secured Claims for Residence and Car
 Payroll Taxes and Related Withholdings                                     $823.00
 Retirement Contributions (401k, IRA, PSP)                                      0.00



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 Shelter Expenses (rent/mortgage, insurance, taxes, utilities)             $2,376.00
 (Total Arrearages on Principal Residence are $2,724.16)
 Household Expenses (food)                                                 $    288.00

 Transportation Expenses (car payments, insurance, fuel)
 Personal Expenses (e.g. recreation, clothing, laundry, medical)           $110.00
 Alimony / Child Support                                                   0.00
 Other Expenses                                                            0.00
 Negative Cash Flow on Investment Property (Exhibit 5, Line B)             0.00
 B. Total Monthly Expenses                                                 3,597.00


 C. Disposable Income (Line A - Line B)                                    3,388.00


 Plan Payments                                                                 Amount
 Plan Payments Not Included in Calculating Disposable Income
 Administrative Claims                                                            0.00

 Priority Claims                                                                609.91

 General Unsecured Creditors                                                    519.00
 OTHER PLAN PAYMENTS: Class 1A,1B,1C Arrears ($1,855.05); Class
 1D IRS $130.38.                                                           $1,985.43
 D. Total Plan Payments                                                    $3,114.34


 E. Plan Feasibility (Line C - Line D)                                         $273.66
 (Not feasible if less than zero)



Exhibit 4 - Effective Date Feasibility

Can the Debtor Make the Effective Day Payments?
                                                              Amount            Amount
 A. Projected Total Cash on Hand on Effective Date                         6,000.00
    Payments on Effective Date
      Unclassified Claims                                   0.00
      Administrative Expense Claims                         5,000.00
      Priority Claims                                       0.00
      Small Claims (Class 2(a))                             0.00

      U.S. Trustee Fees                                     0.00
 B. Total Payments on Effective Date                                       5,000.00



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 C. Net Cash on Effective Date (Line A - Line B)                           1,000.00
 (Not feasible if less than zero)



Exhibit 5 - Investment Property Analysis


Properties with Positive Monthly Cash-Flow:
Real Property #1 Income: 28 Heath Court, Daly City, CA
    Rental         Mortgage      Insurance     Property      Other         Net Income
    Income                                      Taxes       Expenses

  $3,981.00      1st                                       $100/Main-      $368.91
                 $3,512.09     Included      Included      tenance


[Add additional tables for additional real property]

Real Property #2 Income: 996 Gellert, Daly City, CA
    Rental         Mortgage      Insurance     Property       Other            Net
    Income                                      Taxes        Expenses         Income

 $3,700.00       1st
                 $2,270.52     Included      Included      $100.00          $1,329.48
                                                           (Miscellaneo
                                                           us
                                                           Maintenance)


Real Property #3 Income: 67 Camelot Court, Daly City (Debtor’s
Residence).
    Rental         Mortgage      Insurance     Property      Other         Net Income
    Income                                      Taxes       Expenses

 $1,000.00       1st See                                                   $1,000.00
                 Exhibit 3




 A. Total Positive Cash Flow                                               $2,698.39



Properties with Negative Monthly Cash-Flow:
Real Property #3 Income: [Insert Address]


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    Rental         Mortgage      Insurance     Property      Other         Net Income
    Income                                      Taxes       Expenses

 None            1st

                 2nd

                 3rd



Real Property #4 Income: [Insert Address]
    Rental         Mortgage      Insurance     Property      Other         Net Income
    Income                                      Taxes       Expenses

                 1st

                 2nd

                 3rd



 B. Total Negative Cash Flow




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